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 5
                          UNITED STATES DISTRICT COURT
 6                       EASTERN DISTRICT OF WASHINGTON
 7    UNITED STATES OF AMERICA,
 8                            Plaintiff,         CR-09-0015-EFS-1
 9         vs.
10                                               FINAL ORDER OF FORFEITURE
      LUYEN V. DOAN,
11                            Defendant.
12
13         WHEREAS, on October 19, 2010, the Court entered an Amended

14 Preliminary Order of Forfeiture, pursuant to the provisions of 21
15 U.S.C. § 853, preliminarily forfeiting to the United States the
16 following described assets:
17         REAL PROPERTY

18         1)    Parcel Number 48N04W084800, Vacant Land in Kootenai

19               County, Idaho:

20               NW-SE lying N of Road, Section 08, Township
                 48N, Range 04W.
21
                 Together with all appurtenances,              fixtures,
22               attachments thereto and thereupon.

23               Subject     to     covenants,  conditions,
                 restrictions, reservations, easements and
24               agreements of record, if any.

25         2)   Parcel Number 46292.9077, Vacant Land in Spokane
           County, Washington:
26
                 That part of the Southwest Quarter of the
27               Northwest Quarter of Section 29, Township 26
                 North, Range44 East, W.M., described as
28               follows:


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 1              Beginning at the Northwest corner of said
                Southwest Quarter of the Northwest Quarter of
 2              Section 29;Thence North 89E57 East, along the
                North line of said Southwest Quarter of the
 3              Northwest Quarter of Section 29, 995.8 feet;
                Thence South 3E06' East, 512.6 feet; Thence
 4              South 89E51' West, 1020.8 feet, more or less,
                to the West line of said Section 29; Thence
 5              North 0E20' West, along the West line of said
                Section 29, 513.6 feet to the Point of
 6              Beginning.
 7              EXCEPT Right of Way for Bruce Road;
 8              AND EXCEPT for the following described parcel:
                Beginning at the Northwest corner of said
 9              Southwest Quarter of the Northwest Quarter of
                Section 29; Thence North 89E57' East, along
10              the North line of said Southwest Quarter of
                the Northwest Quarter of said Section 29,
11              995.8 feet; Thence South 3E06' East, 256.3
                feet to the True Point of Beginning; Thence
12              South 3E06' East, 256.3 feet; Thence South
                89E51' West, 1,020.8 feet, more or less to the
13              West line of said Section 29; Thence North
                0E20' West, along the West line of said
14              Section 29 to Point of Intersection of said
                West line with the East boundary line of Bruce
15              Road; Thence generally Northeasterly measured
                along the East boundary line of said Bruce
16              Road, a distance of 30 feet to a point; Thence
                on a line drawn at a 45E angle from the West
17              line of said Section 29 and running through
                the above-described point on the East boundary
18              of Bruce Road, Southeasterly to a point where
                said line intersects with a straight line
19              drawn Westerly from the True Point of
                Beginning of this description; Thence Easterly
20              along said straight line to the True Point of
                Beginning.
21
                Situate in the County of Spokane, State of
22              Washington.
23              Together with all appurtenances,               fixtures,
                attachments thereto and thereupon.
24
                Subject     to     covenants,  conditions,
25              restrictions, reservations, easements and
                agreements of record, if any.
26
           3)   Parcel Number 1507401, Vacant Land, described as E2
27              NW4 NW4, in Stevens County, Washington
28

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 1              E1/2 NW1/4 NW1/4 Section 4, Township 28 North,
                Range   36   East,   W.M.,   Stevens   County,
 2              Washington.
 3              Together with all appurtenances,               fixtures,
                attachments thereto and thereupon.
 4
                Subject     to     covenants,  conditions,
 5              restrictions, reservations, easements and
                agreements of record, if any.
 6
           4)   Parcel Number 1507425, Vacant Land, described as W2
 7              NW4 NW4, in Stevens County, Washington
 8              W1/2 NW1/4 NW1/4 Section 4, Township 28 North,
                Range   36   East,   W.M.,   Stevens   County,
 9              Washington.
10              Together with all appurtenances,               fixtures,
                attachments thereto and thereupon.
11
                Subject     to     covenants,  conditions,
12              restrictions, reservations, easements and
                agreements of record, if any.
13
           5)   Parcel Number 1507450, Vacant Land, described as W2
14              SW4 NW4, in Stevens County, Washington
15              W1/2 SW1/4 NW1/4 Section 4, Township 28 North,
                Range   36   East,   W.M.,   Stevens   County,
16              Washington.
17              Together with all appurtenances,               fixtures,
                attachments thereto and thereupon.
18
                Subject     to     covenants,  conditions,
19              restrictions, reservations, easements and
                agreements of record, if any.
20
           6)   Parcel Number 1507475, Vacant Land, described as E2
21              SW4 NW4, in Stevens County, Washington
22              E1/2 SW1/4 NW1/4 Section 4, Township 28 North,
                Range   36   East,   W.M.,   Stevens   County,
23              Washington.
24              Together with all appurtenances,               fixtures,
                attachments thereto and thereupon.
25
                Subject     to     covenants,  conditions,
26              restrictions, reservations, easements and
                agreements of record, if any.
27
           7)   Parcel Number 1507501, Vacant Land, described as E2
28              NE4 NE4, in Stevens County, Washington


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 1               E1/2 NE1/4 NE1/4 Section 5, Township 28 North,
                 Range   36   East,   W.M.,   Stevens   County,
 2               Washington.
 3               Together with all appurtenances,              fixtures,
                 attachments thereto and thereupon.
 4
                 Subject     to     covenants,  conditions,
 5               restrictions, reservations, easements and
                 agreements of record, if any.
 6
           8)    Parcel Number 1507520, Vacant Land, described as W2
 7               NE4 NE4, in Stevens County, Washington
 8               W1/2 NE1/4 NE1/4 Section 5, Township 28 North,
                 Range   36   East,   W.M.,   Stevens   County,
 9               Washington.
10               Together with all appurtenances, fixtures,
                 attachments thereto and thereupon.
11               Subject     to     covenants,      conditions,
                 restrictions, reservations, easements and
12               agreements of record, if any.
13         9)    Parcel Number 1507540, Vacant Land, described as
                 NW4 NE4, ls s 80', in Stevens County, Washington
14
                 NW1/4 NE1/4 less the South 80.00 feet Section
15               4, Township 28 North, Range 36 East, W.M.,
                 Stevens County, Washington.
16
                 Together with all appurtenances, fixtures,
17               attachments thereto and thereupon.
                 Subject     to     covenants,      conditions,
18               restrictions, reservations, easements and
                 agreements of record, if any.
19
           10)   Parcel Number 1507560, Vacant Land, described as W2
20               SE4 NE4, in Stevens County, Washington
21               W1/2 SE1/4 NE1/4 Section 5, Township 28 North,
                 Range   36   East,   W.M.,   Stevens   County,
22               Washington.
23               Together with all appurtenances,              fixtures,
                 attachments thereto and thereupon.
24
                 Subject     to     covenants,  conditions,
25               restrictions, reservations, easements and
                 agreements of record, if any.
26
           11)   Parcel Number 1507580, Vacant Land, described as E2
27               SE4 NE4, in Stevens County, Washington
28

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 1               E1/2 SE1/4 NE1/4 Section 5, Township 28 North,
                 Range   36   East,   W.M.,   Stevens   County,
 2               Washington.
 3               Together with all appurtenances,              fixtures,
                 attachments thereto and thereupon.
 4
                 Subject     to     covenants,  conditions,
 5               restrictions, reservations, easements and
                 agreements of record, if any.
 6
           13)   Parcel Number 1507601, Vacant Land, described
 7               as S 80' NW4 NE4; N2 SW4 NE4, ls s 80', in
                 Stevens County, Washington
 8
                 South 80.00 feet of the NW1/4 NE1/4; along
 9               with the N1/2 SW1/4 NE1/4 less the South 80.00
                 feet, Section 5, Township 28 North, Range 36
10               East, W.M., Stevens County, Washington.
11               Together with all appurtenances,              fixtures,
                 attachments thereto and thereupon.
12
                 Subject     to     covenants,  conditions,
13               restrictions, reservations, easements and
                 agreements of record, if any.
14
           14)   1388 B Pingston Creek Road, Kettle Falls, Washington
15
                 #KPC-S: The South half of Government Lot 1 in
16               Section 4, Township 36 North, Range 38 East,
                 W.M., in Stevens County, Washington
17               Together with all appurtenances, fixtures,
                 attachments thereto and thereupon.
18
                 Subject     to     covenants,  conditions,
19               restrictions, reservations, easements and
                 agreements of record, if any.
20
                 Assessor’s Parcel Number: 1902950.
21
22         16)   5475 Peggy Way, Deer Park, Washington
23               Lot 1 of Short Plat No. SP 225-99, located in
                 Section 1, Township 27 North, Range 41 East,
24               W.M., in Steven County, Washington, according
                 to Plat recorded July 20, 2000, under
25               Auditor’s File No. 20000006950.
26               Together with all appurtenances,              fixtures,
                 attachments thereto and thereupon.
27
                 Subject     to     covenants,  conditions,
28               restrictions, reservations, easements and
                 agreements of record, if any.

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 1
                Assessor’s Parcel Number: 5101230.
 2
           WHEREAS Defendant LUYEN V. DOAN’s interest in the assets
 3
     described above was forfeited to the United States pursuant to the
 4
     plea agreement and judgment filed herein.
 5
           WHEREAS, 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32.2, require
 6
     the resolution of all third-party claims to the property in the
 7
     final order of forfeiture.
 8
           Notice of Criminal Forfeiture was posted on an official
 9
     government internet site (www.forfeiture.gov) for at least 30
10
     consecutive    days,     beginning   on    October         21,   2010,   and   ending
11
     November 19, 2010, as required by Rule G(4)(a)(iv)(C) of the
12
     Supplemental Rules for Admiralty or Maritime Claims and Asset
13
     Forfeiture Actions, as incorporated by 21 U.S.C. § 853(n). ECF No.
14
     2667.    At the latest, the claim period expired on December 20,
15
     2010. To date, no claims have been filed.
16
           On November 5, 2010, Tuyet Nguyen was served via certified
17
     mail, return receipt requested, with copies of the Notice of
18
     Preliminary Order of Forfeiture, the Amended Preliminary Order of
19
     Forfeiture, and the Lis Pendens for the real properties described
20
     above, as evidenced by the Certificate of Service of Notice by Mail
21
     filed with the Court on November 8, 2010.              ECF No. 2520.       To date,
22
     Tuyet Nguyen has not filed a petition or claim.
23
           IT IS HEREBY ORDERED that the assets listed herein are hereby
24
     forfeited to the United States, and no interest exists in any other
25
     person or entity;
26
     ///
27
     //
28
     /

     Final Order of Forfeiture -6-
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 1         IT IS FURTHER ORDERED that the United States shall dispose of
 2 the assets in accordance with law.
 3         DATED this        9th         day of March, 2012.
 4
 5
                                   s/Edward F. Shea
 6                                   EDWARD F. SHEA
                              United States District Judge
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